                 Case 12-10340-btb            Doc 102       Entered 02/07/13 14:52:25             Page 1 of 4




 1

 2

 3

 4
            Entered on Docket
 5
     ___________________________________________________________________
         February 07, 2013
 6

 7

 8

 9

10    Samuel A. Schwartz, Esq.
      Nevada Bar No. 10985
11    Bryan A. Lindsey, Esq.
12    Nevada Bar No. 10662
      The Schwartz Law Firm, Inc.
13
      6623 Las Vegas Blvd. South, Suite 300
14    Las Vegas, Nevada 89119
      Telephone: (702) 385-5544
15
      Facsimile: (702) 385-2741
16    Attorneys for the Debtor
17
              UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA
18

19    In re:                                 )                         Case No. 12-10340-BTB
20                                           )
      Gary S. Kibizoff,                      )                         Chapter 11
21                                           )
22                      Debtor.              )                         Hearing Date: February 5, 2013
      ______________________________________ )                         Hearing Time: 1:30 p.m.
23

24              ORDER GRANTING MOTION TO VALUE COLLATERAL, “STRIP OFF”
                 AND MODIFY RIGHTS OF SECURED CREDITORS PURSUANT TO 11
25
                  U.S.C. § 506(a) AND § 1123 FOR THE REAL PROPERTY LOCATED
26                AT 317 HARRIET STREET, SAN FRANCISCO, CALIFORNIA 94103
27
                 Upon the motion (“Motion”)1 of Gary S. Kibizoff, the debtor and debtor-in-possession in
28

29    the above captioned case (“Debtor”), requesting entry of an order to Value Collateral, “Strip
30    Off” and Modify the Rights of Secured Creditors for the Property Address located at 317 Harriet
31

32
      1
          Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Motion.


                                                                 1
             Case 12-10340-btb        Doc 102     Entered 02/07/13 14:52:25        Page 2 of 4




 1   Street, San Francisco, California 94103 (the “Property”) pursuant to 11 U.S.C. § 506(a) and §
 2
     1123; and due notice of the Motion and the hearing of the Motion having been given to all
 3
     parties entitled thereto; and a hearing having been held before this Court on February 5, 2013, to
 4

 5   consider approval of the Motion, at which time all parties in interest were afforded an
 6
     opportunity to be heard; it is hereby:
 7

 8
             ORDERED that the Motion is GRANTED; and it is further

 9           ORDERED that the secured portions of the Lenders’ claims are reduced to the appraised
10
     value of the Property, pursuant to 11 U.S.C. § 506(a); and it is further
11

12           ORDERED that the unsecured portions of the Lenders’ claims are reduced and shall be
13
     treated as a “general unsecured claim”, pursuant to 11 U.S.C. § 506(a); and it is further
14
             ORDERED that the secured and unsecured claims against the Property are bifurcated in
15

16   accordance with the appraised value of the Property in the amount of $750,000.00; and the
17
     creditors’ wholly unsecured claims shall be treated as a “general unsecured claim,” pursuant to
18

19   11 U.S.C. § 506(a), and the total amounts of the claims against the Property are:
20                          a. First Lien – OneWest Bank, FSB. – Loan Number: *****1812
21
                                    i. Secured Claim -             $750,000.00
22

23                                  ii. Unsecured Claim -          $288,008.70
24
                            b. Second Lien – Sunrise Assessment Svcs. – Loan Number: *****6983
25

26
                                    i. Secured Claim -             $0.00

27                                  ii. Unsecured Claim -          $11,592.74
28
     and it is further
29

30

31

32




                                                      2
             Case 12-10340-btb         Doc 102     Entered 02/07/13 14:52:25      Page 3 of 4




 1          ORDERED that Sunrise Assessment Svcs.’s secured second lien claim against the
 2
     Property is “Stripped Off” and shall be treated as a “general unsecured claim” pursuant to 11
 3
     U.S.C. § 506(a) upon effectuation of the Debtors’ Chapter 11 Plan; and it is further
 4

 5          ORDERED that unsecured portion of the Lenders’ claims be reclassified as a general
 6
     unsecured claims to be paid pro rata with other general unsecured creditors through the Debtor’s
 7

 8
     ultimate Chapter 11 plan; and it is further

 9          ORDERED that the Lender’s secured rights and/or lien-holder rights in the Property are
10
     hereby modified as set forth above; and it is further
11

12          ORDERED nothing in this Order shall be construed as prejudicial to any party’s right to
13
     appraise the Property and submit its own valuation issues up to the disclosure statement/plan
14
     confirmation process; and it is further
15

16          ORDERED that this Court retains jurisdiction to hear all matters relating to or arising
17
     from the entry of this Order; and it is further
18

19          ORDERED that, as provided by Federal Rule of Bankruptcy Procedure 7062, this Order
20   shall be effective and enforceable immediately upon entry.
21

22

23   Submitted By:
24
     THE SCHWARTZ LAW FIRM, INC.
25

26
     /s/ Samuel A. Schwartz
     Samuel A. Schwartz (NSB #10985)
27   Bryan A. Lindsey (NSB #10662)
28   Attorneys for the Debtor
29

30

31

32




                                                       3
            Case 12-10340-btb          Doc 102   Entered 02/07/13 14:52:25       Page 4 of 4




 1          SUBMISSION TO COUNSEL FOR APPROVAL PURSUANT TO LR 9021
 2
           In accordance with LR 9021, counsel submitting this document certifies that the order
 3
           accurately reflects the court’s ruling and that (check one):
 4

 5         _____ The court has waived the requirement set forth in LR 9021(b)(1).
 6
           __X__ No party appeared at the hearing or filed an objection to the motion.
 7

 8
           _____ I have delivered a copy of this proposed order to all counsel who appeared at the

 9         hearing, and any unrepresented parties who appeared at the hearing, and each has
10
           approved or disapproved the order, or failed to respond, as indicated below [list each
11

12         party and whether the party has approved, disapproved, or failed to respond to the
13
           document]:
14
           _____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
15

16         order with the motion pursuant to LR 9014(g), and that no party has objected to the form
17
           or content of this order.
18

19         APPROVED:
20         DISAPPROVED:
21
           FAILED TO RESPOND:
22

23   Submitted By:
24
     THE SCHWARTZ LAW FIRM, INC.
25

26
     /s/ Samuel A. Schwartz
     Samuel A. Schwartz (NSB #10985)
27   Bryan A. Lindsey (NSB #10662)
28   Attorneys for the Debtor
                                                   ###
29

30

31

32




                                                     4
